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                       Receivable Fund, LP
                10
                                         IN THE UNITED STATES BANKRUPTCY COURT
                11                             FOR THE DISTRICT OF NEVADA
                12     In re:
                13     INFINITY CAPITAL MANAGEMENT,                Case No.: 21-14486-abl
                       INC.,
                14                                                 Chapter 7
                                            Debtor.
                15

                16     HASELECT-MEDICAL RECEIVABLES
                       LITIGATION FINANCE FUND
                17     INTERNATIONAL SP,                           Adversary Case No.: 21-01167-abl
                18                          Plaintiff,
                19     v.
                                                                       TECUMSEH–INFINITY MEDICAL
                20     TECUMSEH–INFINITY MEDICAL                           RECEIVABLE FUND, LP
                       RECEIVABLES FUND, LP,                             APPENDIX OF EXHIBITS IN
                21                          Defendant.                    SUPPORT OF ITS REPLY IN
                                                                        SUPPORT OF ITS MOTION FOR
                22     TECUMSEH–INFINITY MEDICAL                       PARTIAL SUMMARY JUDGMENT
                       RECEIVABLES FUND, LP,
                23                                                 Hearing Date: October 25, 2022
                                            Counter-Claimant,
                24     v.                                          Hearing Time: 1:30 p.m.
                25     HASELECT-MEDICAL RECEIVABLES
                       LITIGATION FINANCE FUND
                26
                       INTERNATIONAL SP,
                27                          Counter-Defendant.
                28
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                  1     HASELECT-MEDICAL RECEIVABLES
                        LITIGATION FINANCE FUND
                  2     INTERNATIONAL SP,
                  3                              Counter-Claimant,
                  4     v.
                        TECUMSEH–INFINITY MEDICAL
                  5
                        RECEIVABLES FUND, LP,
                  6                              Counter-Defendant.
                  7

                  8               PLEASE TAKE NOTICE that Tecumseh–Infinity Medical Receivable Fund, LP

                  9    ("Tecumseh") by and through counsel, hereby lodges the following exhibits, true and correct

                10     copies of which are attached hereto:

                11      Exhibit       Description of Exhibit
                12           J.       Court Order dated February 17, 2021, issued in Circuit Court of Cook County,
                                      Illinois, County Department, Chancery Division
                13           K.       Docket Sheet from Circuit Court of Cook County, Illinois, County Department,
                14                    Chancery Division
                             L.       Excerpt from Volume I and Volume II of Oliver Hemmer's Rule 2004 testimony.
                15
                             M.       Bank of America account statements from July 2020 through September 2021
                16
                             N.       Northbrook Account statements from June 2020 through September 2021
                17
                             O.       Tracing Analysis
                18

                19                Dated this 24th day of October 2022.
                                                                         Respectfully submitted,
                20
                                                                         GARMAN TURNER GORDON LLP
                21

                22                                                       By: /s/
                                                                         GERALD M. GORDON
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                26
                                                                         -and-
                27

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                  8                                        Receivable Fund, LP

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